                                                                                     Form 1                                                                            Page: 1

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         17-33511 MAW                                                              Trustee: (550690)           Patti Baumgartner-Novak
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                       Filed (f) or Converted (c): 11/08/17 (f)
                                                                                               §341(a) Meeting Date:       01/02/18
Period Ending:       09/30/20                                                                  Claims Bar Date:            04/16/18

                                1                                           2                         3                          4                  5                  6

                       Asset Description                                 Petition/            Estimated Net Value             Property         Sale/Funds         Asset Fully
            (Scheduled And Unscheduled (u) Property)                   Unscheduled       (Value Determined By Trustee,       Abandoned         Received by     Administered (FA)/
                                                                          Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate      Gross Value of
Ref. #                                                                                          and Other Costs)                                               Remaining Assets

 1       2215 Cleveland RdW # 105, Sandusky OH                                    0.00                         0.00                                     0.00                  FA
           Sandusky Office/Laboratory, Leasehold

 2       2307 W. 14th Street Suite 307 Cleveland, OH                              0.00                         0.00                                     0.00                  FA
           44113 Office, Leasehold

 3       12611 Eckel Junction Rd. Perrysburg, OH 43551                            0.00                         0.00                                     0.00                  FA
           Office, Leasehold

 4       521 N. Sandusky Street, Bellvue, OH 44811                                0.00                         0.00                                     0.00                  FA
           Leasehold
 5       Checking Account at Civista Bank (Citizens),                       3,000.00                      13,704.91                                13,704.91                  FA
          xxxxxx6797

 6       Deposit Held by Melchior Building Company,                             200.00                         0.00                                     0.00                  FA
          PO Box 482 Perrysburg, OH, prior landlord, office lease

 7       A/R 90 days old or less. Face amount = $110,000.                110,000.00                    311,868.27                                 311,868.27                  FA

 8       A/R Over 90 days old. Face amount = $40,000.00.                   40,000.00                           0.00                                     0.00                  FA

 9       Counterclaims and cross claims as identified in                5,600,000.00                           0.00                                     0.00                  FA
           Silo Healthcare Operations, LLC vs North Coast Clinical
         Laboratories, Inc. Erie County Common Pleas Court,
         Ohio 2017 CV 0034, Breach of Contract and others.
         Amount Requested: $5,600,000.00;

10       Net Operating Loss, Tax Year 2016                               227,169.00                            0.00                                     0.00                  FA

11       Doman name: www.Northcoastlab.com.                                       0.00                         0.00                                     0.00                  FA

12       Office and Lab Equipment.                                         50,000.00                           0.00                                     0.00                  FA


                              17-33511-maw              Doc 154      FILED 10/01/20        ENTERED 10/01/20 12:16:41                 Page 1 of Printed:
                                                                                                                                               13 10/01/2020 11:29 AM       V.20.23
                                                                                       Form 1                                                                                     Page: 2

                                                         Individual Estate Property Record and Report
                                                                          Asset Cases
Case Number:         17-33511 MAW                                                                  Trustee: (550690)           Patti Baumgartner-Novak
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                           Filed (f) or Converted (c): 11/08/17 (f)
                                                                                                   §341(a) Meeting Date:       01/02/18
Period Ending:       09/30/20                                                                      Claims Bar Date:            04/16/18

                                1                                              2                          3                            4                     5                    6

                       Asset Description                                   Petition/             Estimated Net Value              Property             Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,        Abandoned             Received by       Administered (FA)/
                                                                            Values             Less Liens, Exemptions,       OA=§554(a) abandon.        the Estate        Gross Value of
Ref. #                                                                                             and Other Costs)                                                      Remaining Assets

13       Lab and Office inventory and supplies                                25,000.00                       6,840.40                                       6,840.40                    FA
           Net Book Value: $0.00;

14       machinery and equipment) Equipment Leases with                             0.00                           0.00                                          0.00                    FA
           the following: Xerox Workcentre7535/3TRY (Xerox
         Corporation, Lessee) Avia1209 (Siemen Healthcare
         Diagnostics, Lessee - Disputed) AU480w/ ISE Insturment
         Sales Group (Beckman Coulter, Lessee) Access 2, Single
         System SG (Beckman Coulter, Lessee)

14       Assets          Totals (Excluding unknown values)                $6,055,369.00                   $332,413.58                                    $332,413.58                  $0.00


     Major Activities Affecting Case Closing:
              09/30/20 - Report of Sale & Auctioneer fee application forthcoming, auctioneer preparing list for report of sale, all medical & office equipment/inventory sold at auction -
              reviewing wage claims - CBD: 04/16/18 - claims reviewed 10/31/19

     Initial Projected Date Of Final Report (TFR): October 1, 2018                             Current Projected Date Of Final Report (TFR): December 1, 2020




                 October 1, 2020                                                               /s/ Patti Baumgartner-Novak
          __________________________                                                           _________________________________________________________________
                        Date                                                                   Patti Baumgartner-Novak




                               17-33511-maw            Doc 154       FILED 10/01/20           ENTERED 10/01/20 12:16:41                    Page 2 of Printed:
                                                                                                                                                     13 10/01/2020 11:29 AM            V.20.23
                                                                                       Form 2                                                                                    Page: 1
                                                           Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                          Trustee:            Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                                   Bank Name:          Mechanics Bank
                                                                                                           Account:            ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                            Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                              Separate Bond:      N/A

   1           2                            3                                           4                                            5                    6                  7
 Trans.     {Ref #} /                                                                                                             Receipts          Disbursements        Checking
  Date      Check #             Paid To / Received From                      Description of Transaction              T-Code          $                    $           Account Balance
11/15/17       {5}        North Coast Clinical Laboratory, Inc   Initial funds on deposit in debtor's account       1129-000         13,293.72                               13,293.72
11/15/17       {7}        Donna S Hudacek                        acct rec                                           1121-000                 5.85                            13,299.57
11/15/17       {7}        William Kramer                         accts rec                                          1121-000                 6.43                            13,306.00
11/15/17       {7}        Paula J Roberts                        accts rec                                          1121-000              10.00                              13,316.00
11/15/17       {7}        Larry J. Gerold JR                     accts rec                                          1121-000              18.93                              13,334.93
11/15/17       {7}        Robert A Shelley                       accts rec                                          1121-000              37.69                              13,372.62
11/15/17       {7}        William D Dupont                       accts rec                                          1121-000              16.22                              13,388.84
11/15/17       {7}        Raymond Patten                         accts rec                                          1121-000              16.32                              13,405.16
11/15/17       {7}        Alison H Kinney                        accts rec                                          1121-000              25.00                              13,430.16
11/15/17       {7}        Frank S Brennan JR                     accts rec                                          1121-000                 1.24                            13,431.40
11/15/17       {7}        James J Eberly JR                      accts rec                                          1121-000                 3.86                            13,435.26
11/15/17       {7}        David E Linden                         accts rec                                          1121-000                 2.14                            13,437.40
11/15/17       {7}        Andrew M Pizza                         accts rec                                          1121-000              10.00                              13,447.40
11/15/17       {7}        Arthur Schuster                        accts rec                                          1121-000              10.00                              13,457.40
11/15/17       {7}        Clifford Mall                          accts rec                                          1121-000              10.00                              13,467.40
11/15/17       {7}        James L Lehnert                        accts rec                                          1121-000              10.00                              13,477.40
11/15/17       {7}        Martha J Meyers                        accts rec                                          1121-000              10.75                              13,488.15
11/15/17       {7}        Sidney Weimer                          accts rec                                          1121-000              12.34                              13,500.49
11/15/17       {7}        Elizabeth M Stierhoff                  accts rec                                          1121-000              13.37                              13,513.86
11/15/17       {7}        William McEwen                         accts rec                                          1121-000              15.00                              13,528.86
11/15/17       {7}        SummaCare                              accts rec                                          1121-000              19.98                              13,548.84
11/15/17       {7}        Patricia Alvord                        accts rec                                          1121-000              20.00                              13,568.84
11/15/17       {7}        Linda Sharpe                           accts rec                                          1121-000              20.88                              13,589.72
11/15/17       {7}        Charles D Crisp                        accts rec                                          1121-000              24.39                              13,614.11
11/15/17       {7}        Barbara M Gillett                      accts rec                                          1121-000              25.00                              13,639.11
11/15/17       {7}        Helen Grabowski                        accts rec                                          1121-000              26.10                              13,665.21

                                                                                                                Subtotals :         $13,665.21                $0.00
  {} Asset reference(s)        17-33511-maw           Doc 154        FILED 10/01/20           ENTERED 10/01/20 12:16:41                  Page 3 ofPrinted:
                                                                                                                                                   13 10/01/2020 11:29 AM         V.20.23
                                                                                  Form 2                                                                                Page: 2
                                                          Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                    Trustee:         Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                             Bank Name:       Mechanics Bank
                                                                                                     Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                      Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                        Separate Bond:   N/A

   1           2                            3                                      4                                        5                    6                  7
 Trans.     {Ref #} /                                                                                                    Receipts          Disbursements        Checking
  Date      Check #             Paid To / Received From                 Description of Transaction         T-Code           $                    $           Account Balance
11/15/17       {7}        Tonia Hutchinson-Putman           accts rec                                     1121-000                33.97                             13,699.18
11/15/17       {7}        Susan K Carson                    accts rec                                     1121-000                62.91                             13,762.09
11/15/17       {7}        Hospice Of Northwest Ohio         accts rec                                     1121-000                64.80                             13,826.89
11/15/17       {7}        Steven B Sparks DO, LTD, LLC      accts rec                                     1121-000                89.00                             13,915.89
11/15/17       {7}        Brady Sign Co                     accts rec                                     1121-000               110.00                             14,025.89
11/15/17       {7}        William J Roche JR                accts rec                                     1121-000               268.00                             14,293.89
11/15/17       {7}        United States Treasury            accts rec                                     1121-000              2,170.00                            16,463.89
11/15/17       {7}        Alsson H KInney                   Adjustmnet for deposit #100001-9              1121-000                  0.90                            16,464.79
11/27/17       {7}        Phyllis J Aslinger                Accts Rec                                     1121-000                  2.09                            16,466.88
11/27/17       {7}        Ronald M & Mary J Gates           Accts Rec                                     1121-000                  3.76                            16,470.64
11/27/17       {7}        Dennis E Hahn                     Accts Rec                                     1121-000                  5.13                            16,475.77
11/27/17       {7}        Edwin M Culkowski                 Accts Rec                                     1121-000                  7.30                            16,483.07
11/27/17       {7}        MAble Sutphin                     Accts Rec                                     1121-000                  8.37                            16,491.44
11/27/17       {7}        Arline J Nelson                   Accts Rec                                     1121-000                10.00                             16,501.44
11/27/17       {7}        Eleanor George                    Accts Rec                                     1121-000                10.00                             16,511.44
11/27/17       {7}        Gladys M Jennings                 Accts Rec                                     1121-000                10.00                             16,521.44
11/27/17       {7}        James L. Lehnert                  Accts Rec                                     1121-000                10.00                             16,531.44
11/27/17       {7}        John T Deck                       Accts Rec                                     1121-000                10.00                             16,541.44
11/27/17       {7}        Priscilla B Schlingman            Accts Rec                                     1121-000                10.00                             16,551.44
11/27/17       {7}        Larry E Parsons                   Accts Rec                                     1121-000                10.06                             16,561.50
11/27/17       {7}        Buckeye Community Health Plan,    Accts Rec                                     1121-000                13.49                             16,574.99
                          My Care Ohio
11/27/17       {7}        Lori A Long                       Accts Rec                                     1121-000                13.52                             16,588.51
11/27/17       {7}        Mr Donald G Koch                  Accts Rec                                     1121-000                15.00                             16,603.51
11/27/17       {7}        Joel Hochanadel                   Accts Rec                                     1121-000                18.17                             16,621.68
11/27/17       {7}        Joshua D Wobser                   Accts Rec                                     1121-000                25.59                             16,647.27


                                                                                                      Subtotals :           $2,982.06                $0.00
  {} Asset reference(s)        17-33511-maw           Doc 154   FILED 10/01/20           ENTERED 10/01/20 12:16:41               Page 4 ofPrinted:
                                                                                                                                           13 10/01/2020 11:29 AM        V.20.23
                                                                                       Form 2                                                                                 Page: 3
                                                           Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                         Trustee:         Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                                  Bank Name:       Mechanics Bank
                                                                                                          Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                           Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                             Separate Bond:   N/A

   1           2                            3                                           4                                        5                    6                   7
 Trans.     {Ref #} /                                                                                                         Receipts          Disbursements         Checking
  Date      Check #            Paid To / Received From                       Description of Transaction         T-Code           $                    $            Account Balance
11/27/17       {7}        Paul E Wilke                           Accts Rec                                     1121-000                29.01                              16,676.28
11/27/17       {7}        Su Van Nguyen                          Accts Rec                                     1121-000                29.85                              16,706.13
11/27/17       {7}        Jane E Windisch                        Accts Rec                                     1121-000                35.00                              16,741.13
11/27/17       {7}        Buckeye Community Health Plan,         Accts Rec                                     1121-000                36.22                              16,777.35
                          My Care Ohio
11/27/17       {7}        Buckeye Community Health Plan,         Accts Rec                                     1121-000                54.71                              16,832.06
                          My Care Ohio
11/27/17       {7}        William R. Moujaes                     Acct Rec                                      1121-000                60.29                              16,892.35
11/27/17       {7}        Beth S Braucksieck                     Accts Rec                                     1121-000                65.68                              16,958.03
11/27/17       {7}        Hospice Of Northwest Ohio              accts rec                                     1121-000               146.50                              17,104.53
11/27/17       {7}        Aetna Better Health of Ohio            Accts Rec                                     1121-000               171.93                              17,276.46
11/27/17       {7}        Ohio Living                            Accts Rec                                     1121-000               521.31                              17,797.77
11/27/17       {7}        Ursuline Convent of the Sacred         Accts Rec                                     1121-000               852.23                              18,650.00
                          Heart
11/27/17       {7}        Arrowhead Behavioral Health            Accts Rec                                     1121-000              7,732.13                             26,382.13
11/29/17       {7}        Tammy S. Shuster                       Accts Rec                                     1121-000                  5.17                             26,387.30
11/29/17       {7}        Paul H Schmidt                         Accts Rec                                     1121-000                10.00                              26,397.30
11/29/17       {7}        SummaCare                              Accts Rec                                     1121-000                15.45                              26,412.75
11/29/17       {7}        William Dearing                        Accts Rec                                     1121-000                17.27                              26,430.02
11/29/17       {7}        Med Ben                                Accts Rec                                     1121-000                26.11                              26,456.13
11/29/17       {7}        Med Ben                                Accts Rec                                     1121-000                31.41                              26,487.54
11/29/17       {7}        Hospice of Northwest Ohio              Accts Rec                                     1121-000                55.00                              26,542.54
11/30/17       {7}        Ronald Quillen                         Accts Rec                                     1121-000                93.33                              26,635.87
11/30/17                  Rabobank, N.A.                         Bank and Technology Services Fee              2600-000                                    12.00          26,623.87
12/01/17       {7}        Wendy Reinhard                         Accts Rec                                     1121-000                  9.70                             26,633.57
12/01/17       {7}        Ruth B London                          Accts Rec                                     1121-000                10.00                              26,643.57
12/01/17       {7}        North Coast Clinical Laboratory, Inc   Accts Rec                                     1121-000          10,000.00                                36,643.57
                                                                                                           Subtotals :          $20,008.30                $12.00
  {} Asset reference(s)        17-33511-maw             Doc 154      FILED 10/01/20           ENTERED 10/01/20 12:16:41               Page 5 ofPrinted:
                                                                                                                                                13 10/01/2020 11:29 AM         V.20.23
                                                                                 Form 2                                                                                    Page: 4
                                                           Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                    Trustee:           Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                             Bank Name:         Mechanics Bank
                                                                                                     Account:           ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                      Blanket Bond:      $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                        Separate Bond:     N/A

   1           2                            3                                      4                                          5                    6                   7
 Trans.     {Ref #} /                                                                                                      Receipts          Disbursements         Checking
  Date      Check #             Paid To / Received From               Description of Transaction             T-Code           $                    $            Account Balance
12/04/17       {7}        Darlene Rosinski                    Accts Rec                                      1121-000              10.00                               36,653.57
12/04/17       {7}        Carol Cook                          Accts Rec                                      1121-000              15.00                               36,668.57
12/04/17       {7}        Abigail L Allen                     Accts Rec                                      1121-000              80.47                               36,749.04
12/07/17       {7}        Mutual Health Services              Accts Rec                                      1121-000                 8.66                             36,757.70
12/11/17       {7}        Minute Men Select Inc               Accts Rec                                      1121-000              27.00                               36,784.70
12/11/17       {7}        Patricia A Brunner                  Accts rec                                      1121-000              31.82                               36,816.52
12/13/17       {7}        Beth A Ott                          Accts Rec                                      1121-000                 1.99                             36,818.51
12/13/17       {7}        Robert A Shelley                    Accts Rec                                      1121-000              10.00                               36,828.51
12/13/17      101         Great Lakes Medical Waste           Medical Waste disposal paid pursuant to Court 2420-000                                   222.00          36,606.51
                          Services, LLC                       Order signed 12.13.17
12/13/17      102         State Auto Insurance Companies      Insurance paid pursuant to Court Order signed 2420-000                                   531.00          36,075.51
                                                              12.13.17
12/14/17       {7}        Gary F Graves                       Accts Rec                                      1121-000              36.41                               36,111.92
12/14/17       {7}        Stein Hospice Service Inc           Accts Rec                                      1121-000              20.34                               36,132.26
12/14/17       {7}        Stein Hospice Service Inc           Accts Rec                                      1121-000             104.40                               36,236.66
12/18/17       {7}        Rosalyn G Pizza                     Accts Rec                                      1121-000              10.00                               36,246.66
12/18/17       {7}        Mutual Health Services              Accts Rec                                      1121-000              36.15                               36,282.81
12/18/17       {7}        Hospice of Northwest Ohio           Accts Rec                                      1121-000             111.67                               36,394.48
12/20/17       {7}        Exagen Diagnostics, Inc             Accts Rec                                      1121-000              30.00                               36,424.48
12/27/17       {7}        Janet E Butterfield                 Accts Rec                                      1121-000              10.00                               36,434.48
12/29/17                  Rabobank, N.A.                      Bank and Technology Services Fee               2600-000                                   49.21          36,385.27
01/02/18       {7}        Hospice of Northwest Ohio           Accts Rec                                      1121-000             109.94                               36,495.21
01/08/18       {7}        State Collection & Recovery         Accts Rec                                      1121-000             140.56                               36,635.77
                          Services LLC
01/17/18      103         State Auto Inssurance Company       Paid pursuant to Coourt Order signed 1/12/18   2420-000                                  531.00          36,104.77
                                                              Stopped on 01/30/18
01/22/18       {7}        Alyce Urbine                        Accts Rec                                      1121-000              10.00                               36,114.77
                                                                                                       Subtotals :                $804.41          $1,333.21
  {} Asset reference(s)        17-33511-maw             Doc 154   FILED 10/01/20         ENTERED 10/01/20 12:16:41                Page 6 ofPrinted:
                                                                                                                                            13 10/01/2020 11:29 AM          V.20.23
                                                                                   Form 2                                                                                         Page: 5
                                                           Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                           Trustee:         Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                                    Bank Name:       Mechanics Bank
                                                                                                            Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                             Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                               Separate Bond:   N/A

   1           2                           3                                         4                                             5                    6                     7
 Trans.     {Ref #} /                                                                                                           Receipts          Disbursements           Checking
  Date      Check #            Paid To / Received From                 Description of Transaction                 T-Code           $                    $              Account Balance
01/22/18       {7}        Marian Marquette                    Accts Rec                                          1121-000               20.00                                 36,134.77
01/22/18       {7}        Cigna HealthCare                    Accts Rec                                          1121-000               34.21                                 36,168.98
01/30/18      103         State Auto Inssurance Company       Paid pursuant to Coourt Order signed 1/12/18       2420-000                                    -531.00          36,699.98
                                                              Stopped: check issued on 01/17/18
01/30/18      104         State Auto Insurance Companies      Insurance paid pursuant to Court Order signed 2420-000                                         531.00           36,168.98
                                                              1.12.18
01/30/18      105         One Perkins Place                   post-petition rent paid per Court Order of         2410-000                               11,250.00             24,918.98
                                                              01.15.18
01/31/18                  Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                     57.88           24,861.10
02/05/18       {7}        Est. of Floyd Smithson              Accts Rec                                          1121-000               10.00                                 24,871.10
02/05/18       {7}        Luther Home of Mercy                Accts Rec                                          1121-000               88.12                                 24,959.22
02/08/18       {7}        Claudia Bodey                       Accts Rec                                          1121-000               14.22                                 24,973.44
02/12/18       {7}        State Collection & Recovery         Accts rec                                          1121-000               84.44                                 25,057.88
                          Services LLC
02/16/18      106         State Auto Insurance Companies      Feb and March 2018 Insurance paid pursuant         2420-000                                   1,062.00          23,995.88
                                                              to Court Order signed 2.16.18
02/16/18      107         One Perkins Place                   post-petition Feb and March 2018 rent paid per 2410-000                                       7,500.00          16,495.88
                                                              Court Order of 02.16.18
02/16/18      108         Habitec Security Inc                Security paid pursuant to Court Order signed       2420-000                                    160.16           16,335.72
                                                              02.16.18
02/16/18      109         Huron Secur Storage                 post-petition storage unit rent paid per Court     2410-000                                    145.50           16,190.22
                                                              Order signed 02.16.18
02/19/18       {7}        Healthsmart Benefit Solutions       Accts Rec                                          1121-000                  8.54                               16,198.76
02/21/18      110         Lock-It-Up Self Storage             Records storage through 11/2019 paid per           2410-000                                   1,249.59          14,949.17
                                                              Court Order of 02.16.18
02/22/18      111         Clerk of US Bankruptcy Court        Motion to Sell at Public Auction filing fee        2700-000                                    181.00           14,768.17
02/26/18       {7}        Nicole Ehrnsberger                  A/R - payment on account                           1121-000               10.38                                 14,778.55

                                                                                                             Subtotals :               $269.91         $21,606.13
  {} Asset reference(s)       17-33511-maw              Doc 154   FILED 10/01/20            ENTERED 10/01/20 12:16:41                  Page 7 ofPrinted:
                                                                                                                                                 13 10/01/2020 11:29 AM            V.20.23
                                                                                 Form 2                                                                                     Page: 6
                                                            Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                     Trustee:         Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                              Bank Name:       Mechanics Bank
                                                                                                      Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                       Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                         Separate Bond:   N/A

   1           2                           3                                       4                                         5                    6                     7
 Trans.     {Ref #} /                                                                                                     Receipts          Disbursements           Checking
  Date      Check #            Paid To / Received From                Description of Transaction             T-Code          $                    $              Account Balance
02/28/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                    44.14           14,734.41
03/04/18      112         Emily Novak                         Paid per Court Order signed 03/01/2018;       2420-000                                   100.00           14,634.41
                                                              additional labor
03/04/18      113         Christian Baldenegro                Paid per Court Order signed 03/01/2018;       2420-000                                   100.00           14,534.41
                                                              additional labor
03/04/18      114         Jake Novak                          Paid per Court Order signed 03/01/2018;       2420-000                                   100.00           14,434.41
                                                              additional labor
03/07/18      115         Allshred Services                   Secure, move and shred documents, Paid per    2420-000                                  5,859.50              8,574.91
                                                              COurt Order signed 02/16/18
03/07/18      116         Jack Runner                         Costs to change locks paid per Court Order    2420-000                                   125.43               8,449.48
                                                              signed 03.01.2018
03/12/18       {7}        State Collection & Recovery         Accts Rec                                     1121-000                 4.64                                   8,454.12
                          Services, LLC
03/14/18       {7}        Bardshar Apartments                 Accts Rec                                     1121-000              57.00                                     8,511.12
03/22/18       {5}        North Coast Clinical Laboratory     funds in bank account when closed             1129-000             411.19                                     8,922.31
03/28/18      117         Emily Novak                         Paid per Court Order signed 03.27.18;         2420-000                                   200.00               8,722.31
                                                              additional labor
03/28/18      118         Christian Baldenegro                Paid per Court Order signed 03.27.18;         2420-000                                   200.00               8,522.31
                                                              additional labor
03/28/18      119         Jake Novak                          Paid per Court Order signed 03.27.18;         2420-000                                   200.00               8,322.31
                                                              additional labor
03/28/18      120         Hannah Novak                        Paid per Court Order signed 03.27.18;         2420-000                                   200.00               8,122.31
                                                              additional labor
03/28/18      121         Allshred Services                   Secure, move and shred documents, Paid per    2420-000                                   187.50               7,934.81
                                                              Court Order signed 02/16/18
03/30/18                  Rabobank, N.A.                      Bank and Technology Services Fee              2600-000                                    16.51               7,918.30
04/02/18       {7}        Nicholas W Dressel                  Accts Rec                                     1121-000                 2.85                                   7,921.15


                                                                                                        Subtotals :              $475.68          $7,333.08
  {} Asset reference(s)       17-33511-maw              Doc 154   FILED 10/01/20         ENTERED 10/01/20 12:16:41               Page 8 ofPrinted:
                                                                                                                                           13 10/01/2020 11:29 AM             V.20.23
                                                                                     Form 2                                                                                  Page: 7
                                                             Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                        Trustee:         Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                                 Bank Name:       Mechanics Bank
                                                                                                         Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                          Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                            Separate Bond:   N/A

   1           2                           3                                          4                                         5                    6                   7
 Trans.     {Ref #} /                                                                                                        Receipts          Disbursements         Checking
  Date      Check #            Paid To / Received From                     Description of Transaction          T-Code           $                    $            Account Balance
04/04/18      122         Two Men And A Truck                  moving medical records to storage & lab        2420-000                                   913.00              7,008.15
                                                               equipment
04/11/18       {7}        State Collection & Recovery          Accts rec                                      1121-000                  7.50                                 7,015.65
                          Services LLC
04/30/18       {7}        United Healthcare Life Insurance     Accts Rec                                      1121-000                  4.03                                 7,019.68
                          Company
04/30/18                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                    10.29              7,009.39
05/07/18       {7}        State Collection & Recovery          Accts Rec                                      1121-000               27.01                                   7,036.40
                          Services
05/22/18       {7}        Care Source                          Accts Rec                                      1121-002          88,861.04                                95,897.44
05/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                    45.20          95,852.24
06/04/18       {7}        Care Source                          Accts Rec                                      1121-002         196,591.59                               292,443.83
06/12/18       {7}        Anne Grady Corporation               Accts Rec                                      1121-000              391.06                              292,834.89
06/19/18       {7}        Care Source                          Accts Rec                                      1121-002              839.49                              293,674.38
06/25/18       {7}        Care Source                          Accts Rec                                      1121-002               20.03                              293,694.41
06/27/18       {7}        Care Source                          Reversed Deposit 100039 1 Accts Rec            1121-000              -839.49                             292,854.92
06/29/18                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                   359.97         292,494.95
07/12/18       {7}        Anthony & Catherine Schaffer         accts rec                                      1121-000               14.91                              292,509.86
07/16/18       {7}        Mutual Health Services               Accts Rec                                      1121-000                  4.89                            292,514.75
07/16/18       {7}        State Collection & Recovery          Accts rec                                      1121-000                  5.57                            292,520.32
                          Services LLC
07/16/18       {7}        Care Source                          Reversed Deposit 100040 1 Accts Rec            1121-000               -20.03                             292,500.29
07/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                   448.75         292,051.54
08/13/18       {7}        State Collection & Recovery          Accts rec                                      1121-000              162.80                              292,214.34
                          Services LLC
08/31/18                  Rabobank, N.A.                       Bank and Technology Services Fee               2600-000                                   434.20         291,780.14
09/14/18       {7}        State Collection & Recovery          Accts rec                                      1121-000               92.97                              291,873.11

                                                                                                          Subtotals :         $286,163.37            $2,211.41
  {} Asset reference(s)       17-33511-maw              Doc 154    FILED 10/01/20           ENTERED 10/01/20 12:16:41               Page 9 ofPrinted:
                                                                                                                                              13 10/01/2020 11:29 AM           V.20.23
                                                                               Form 2                                                                                  Page: 8
                                                         Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                 Trustee:          Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                          Bank Name:        Mechanics Bank
                                                                                                  Account:          ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                   Blanket Bond:     $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                     Separate Bond:    N/A

   1           2                           3                                    4                                         5                    6                   7
 Trans.     {Ref #} /                                                                                                  Receipts          Disbursements         Checking
  Date      Check #            Paid To / Received From              Description of Transaction            T-Code          $                    $            Account Balance
                          Services LLC
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                  223.85         291,649.26
10/04/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                              -1,462.98          293,112.24
                                                           Adjustment
10/04/18                  To Account #******8067           Non-Estate Funds due to Inadvertant Payment 9999-000                               285,452.63               7,659.61
                                                           from CareSource
10/09/18       {7}        Stericycle Class Action          Accts Rec                                     1121-000             436.36                                   8,095.97
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                   53.85              8,042.12
11/30/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    6.60              8,035.52
12/10/18       {7}        State Collection & Recovery      Accts rec                                     1121-000              15.51                                   8,051.03
                          Services LLC
12/19/18      123         INSURANCE PARTNERS AGENCY, BOND PREMIUM PAYMENT ON LEDGER                      2300-000                                   14.46              8,036.57
                          INC.                       BALANCE AS OF 11/01/2018 FOR CASE
                                                     #17-33511, Bond Premium #3517690 - Term
                                                     11/01/2018-11/01/2019
12/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    6.39              8,030.18
01/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    7.26              8,022.92
02/28/19                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    6.15              8,016.77
03/11/19       {7}        State Collection & Recovery      Accts rec -rev'd with bank stmt 1/10/19 pbn   1121-000             427.50                                   8,444.27
                          Services LLC
03/29/19                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    6.56              8,437.71
04/30/19                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    7.39              8,430.32
05/11/19       {7}        State Collection & Recovery      Accts rec -                                   1121-000                 8.06                                 8,438.38
                          Services LLC
05/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee              2600-000                                    7.16              8,431.22
06/10/19       {7}        Stericycle Class Action          Accts Rec                                     1121-000              56.21                                   8,487.43
06/10/19       {7}        State Collection & Recovery      Accts rec -                                   1121-000              33.10                                   8,520.53

                                                                                                     Subtotals :              $976.74        $284,329.32
  {} Asset reference(s)       17-33511-maw          Doc 154   FILED 10/01/20          ENTERED 10/01/20 12:16:41               Page 10 ofPrinted:
                                                                                                                                          13 10/01/2020 11:29 AM         V.20.23
                                                                                Form 2                                                                                  Page: 9
                                                         Cash Receipts And Disbursements Record
Case Number:         17-33511 MAW                                                                  Trustee:         Patti Baumgartner-Novak (550690)
Case Name:           NORTH COAST CLINICAL LABORATORY, IN                                           Bank Name:       Mechanics Bank
                                                                                                   Account:         ******8066 - Checking Account
Taxpayer ID #:       **-***5256                                                                    Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:       09/30/20                                                                      Separate Bond:   N/A

   1           2                           3                                     4                                        5                    6                    7
 Trans.     {Ref #} /                                                                                                  Receipts          Disbursements          Checking
  Date      Check #            Paid To / Received From                Description of Transaction         T-Code           $                    $             Account Balance
                          Services LLC
06/28/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      6.50              8,514.03
07/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      7.69              8,506.34
08/30/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      6.99              8,499.35
09/30/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      6.75              8,492.60
10/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      7.67              8,484.93
11/29/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      6.50              8,478.43
12/18/19      124         INSURANCE PARTNERS AGENCY, BOND PREMIUM PAYMENT ON LEDGER                     2300-000                                      3.63              8,474.80
                          INC.                       BALANCE AS OF 11/01/2019 FOR CASE
                                                     #17-33511, Bond Premium #3517690 - Term
                                                     11/01/2019 - 11/01/2020
12/31/19                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      7.66              8,467.14
01/14/20       {7}        State Collection & Recovery      Accts rec -                                  1121-000               127.50                                   8,594.64
                          Services LLC
01/31/20                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      7.22              8,587.42
02/10/20       {7}        PH IPC                           acct rec                                     1121-000               100.00                                   8,687.42
02/11/20      125         Allshred Services                Secure, move and shred documents             2420-000                                    515.50              8,171.92
02/28/20                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                      6.41              8,165.51
03/05/20      {13}        Grossman Inc                     partial auction proceeds                     1129-000              6,530.40                              14,695.91
03/31/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     11.74          14,684.17
04/30/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     23.46          14,660.71
05/29/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     22.65          14,638.06
06/30/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     24.95          14,613.11
07/31/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     24.13          14,588.98
08/31/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     22.53          14,566.45
09/04/20      {13}        Grossman Inc                     auction proceeds                             1129-000               310.00                               14,876.45
09/30/20                  Mechanics Bank                   Bank and Technology Services Fee             2600-000                                     25.19          14,851.26
                                                                                                    Subtotals :           $7,067.90                $737.17
  {} Asset reference(s)       17-33511-maw          Doc 154   FILED 10/01/20          ENTERED 10/01/20 12:16:41               Page 11 ofPrinted:
                                                                                                                                          13 10/01/2020 11:29 AM          V.20.23
                                                                       Form 2                                                                          Page: 10
                                                     Cash Receipts And Disbursements Record
Case Number:       17-33511 MAW                                                           Trustee:         Patti Baumgartner-Novak (550690)
Case Name:         NORTH COAST CLINICAL LABORATORY, IN                                    Bank Name:       Mechanics Bank
                                                                                          Account:         ******8066 - Checking Account
Taxpayer ID #:     **-***5256                                                             Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:     09/30/20                                                               Separate Bond:   N/A

  1           2                     3                                   4                                        5                  6                  7
Trans.     {Ref #} /                                                                                          Receipts        Disbursements        Checking
 Date      Check #         Paid To / Received From           Description of Transaction         T-Code           $                  $           Account Balance
                                                                    ACCOUNT TOTALS                              332,413.58         317,562.32         $14,851.26
                                                                        Less: Bank Transfers                          0.00         285,452.63
                                                                    Subtotal                                    332,413.58          32,109.69
                                                                        Less: Payments to Debtors                                        0.00
                                                                    NET Receipts / Disbursements               $332,413.58         $32,109.69




 {} Asset reference(s)   17-33511-maw         Doc 154    FILED 10/01/20      ENTERED 10/01/20 12:16:41               Page 12 ofPrinted:
                                                                                                                                 13 10/01/2020 11:29 AM    V.20.23
                                                                               Form 2                                                                             Page: 11
                                                         Cash Receipts And Disbursements Record
Case Number:        17-33511 MAW                                                                   Trustee:         Patti Baumgartner-Novak (550690)
Case Name:          NORTH COAST CLINICAL LABORATORY, IN                                            Bank Name:       Mechanics Bank
                                                                                                   Account:         ******8067 - Checking Account
Taxpayer ID #:      **-***5256                                                                     Blanket Bond:    $2,000,000.00 (per case limit)
Period Ending:      09/30/20                                                                       Separate Bond:   N/A

   1           2                         3                                      4                                         5                    6                  7
 Trans.     {Ref #} /                                                                                                  Receipts          Disbursements        Checking
  Date      Check #            Paid To / Received From             Description of Transaction            T-Code           $                    $           Account Balance
10/04/18                  From Account #******8066         Non-Estate Funds due to Inadvertant Payment 9999-000          285,452.63                              285,452.63
                                                           from CareSource
10/15/18      101         CareSource                       Return of Inadvertent Payment from creditor   8500-002                             285,452.63               0.00
                                                           CareSource
                                                                           ACCOUNT TOTALS                                285,452.63           285,452.63              $0.00
                                                                               Less: Bank Transfers                      285,452.63                 0.00
                                                                           Subtotal                                               0.00        285,452.63
                                                                               Less: Payments to Debtors                                            0.00
                                                                           NET Receipts / Disbursements                         $0.00        $285,452.63



                                                                                                                           Net                Net               Account
                                                                           TOTAL - ALL ACCOUNTS                          Receipts        Disbursements          Balances
                                                                           Checking # ******8066                         332,413.58            32,109.69          14,851.26
                                                                           Checking # ******8067                               0.00           285,452.63               0.00

                                                                                                                        $332,413.58          $317,562.32         $14,851.26




  {} Asset reference(s)      17-33511-maw            Doc 154   FILED 10/01/20         ENTERED 10/01/20 12:16:41               Page 13 ofPrinted:
                                                                                                                                          13 10/01/2020 11:29 AM      V.20.23
